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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                        NO. 4:03CR00020-001 SWW

KENDRICK LASHUN BANKHEAD




                                           ORDER

      The above entitled cause came on for hearing on petitions to revoke

the supervised release previously granted this defendant in the United

States District Court for the Eastern District of Arkansas.                     Upon the

basis of admissions by defendant, the Court found that defendant has

violated the conditions of his supervised release without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the government’s motions1

are granted, and the supervised release previously granted this defendant

in the above matter hereby is revoked.

      IT    IS    FURTHER      ORDERED   that   defendant   shall   serve   a   term   of

imprisonment of TWELVE (12) MONTHS AND ONE (1) DAY in the custody of the

Bureau of Prisons.            The Court recommends that defendant be incarcerated

in the facility located at Forrest City, Arkansas.

      Upon release from imprisonment, defendant shall serve a term of

THREE (3) YEARS of supervised release, less the term of imprisonment,

to be on the same terms and conditions as previously ordered in this

matter.



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       Docs. #172 and #179.
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     The balance of the restitution previously imposed in the amount of

$19,342.70 is mandatory and remains due and payable, and is joint and

several as previously ordered in this matter. During his incarceration,

defendant shall pay 50 percent per month of all funds that are available

to him on the restitution owed. During his term in community confinement

and supervised release, payments will be reduced to 10 percent per month

of defendant’s gross monthly income.

     All other terms and conditions of supervised release previously

imposed shall remain in full force and effect.

     Defendant is remanded to the custody of the United States Marshal.

     IT IS SO ORDERED this 27TH day of June, 2006.



                                       /s/Susan Webber Wright

                                       UNITED STATES DISTRICT JUDGE
